     Case 3:19-cv-00053-GEC Document 2 Filed 09/12/19 Page 1 of 6 Pageid#: 3

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                                        IN THE UNITED STATES DISTRICT COURT                      sEP 12 2218
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               Defendantts).
    (Enterthefullnamets)ofALLpartiesinthisIawsuit.
    Pleaseattachadditionalsheetsifnecessary).

                                                           COM PLAINT

    PARTIES

       1. ListaIIPlaintiffj. State the fullname ofthe Plaintiff,address and telephone number.
               Do the sam e forany additipnalPlaintiffs.                                -'

           a. PlaintiffNo.1

                  Namg:                                %       .
                  Address:              Of.        .
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                  Tel
                    ephoneNumber: (q%R)* 2 S-q1l%                                                 '
           b, PlaintiffNo.2

                  Name:               Kouov;                  N.         k               '                     .
                  Address: Mx Pxmkc c                                                 eavit ehla l
                  TelephoneNumber: (qJq) $2< -:21%
     Case 3:19-cv-00053-GEC Document 2 Filed 09/12/19 Page 2 of 6 Pageid#: 4




                 List aIIDefendants. State the fullnam e of the Defendant,even ifthat Defendant is a
                 government agency; an organization, a corporation, or an individual. Include the
                 addresswhereeachDefendantmaybeserved.Makesurethatthe Defendantts)Iisted
                 below are identicalto those contained in the above caption ofthe com plaint,
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                      Address:                    19 N G                       N                             -
                      DefendantNo.2#
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                      Nam e:

                      Address: %11 x w                                                                   '              zzqfm
    NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE PROVIDE THEIR
    NAM ES AND ADDRESSES ON A SEPARATE SHEET O FPAPER.
    Checkhereifadditionalsheetsofpaperareattached: Z
    Please Iabel the attached sheets of paper to correspond to the appropriate num bered
    paragraphabove(e.g.AdditionalDefendants2.c.,2.d.,etco).                                                         '
    JURISDICTION

    Federalcourtsare courtsofIim itedjurisdiction. Generally,two typesofcasescan be heard in
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    federalcourt: casesinvolyi
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                                              onandcasesinvolvingdiversitfofcitizenshipof
    the parties. Under28 U7
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    Iawsortreatiesisafederalqtlestion case. Under28 U..       S.C.j 1332/a case inwhich acitizen of
    one state sues a citizen of anotherst
                                        .atqandtheamountofdamagesismorethan$75,000isa
    diversity ofcitizenship case. Federalcourts also. havejuri
                                                             sdiction overcaseswhere the United
    Statesisa Defendant.                             ?           ,
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          3. W hatisthe basisforfederalcourtjurisdiction?
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    r-lFederalQuestion                               ,,     Diversity ofCitlzonshlp                      Gover
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          4. Ifthe basisforjurisdiction is FederalQuestion,which PederalConstitution,statutory or
             treaty rightisatissue? ListaIIthat
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       5. Ifthe basisforjurisdiction is Diversity ofCitizenship,whatisthe state ofcitizenship of
              each party?              Eaèh Plaintiff m ust be diverse from eàch Defendant for diversity
              jurisdiction.
              PlaintiffNo.1:                                                                          State ofCitizenship:

              PIaintiffN o.2:                      .
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              Defendant No.1.
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                                                                                                      State ofCitizenship:
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              Defendant NO.2:                                                                         State ofCitizenship:

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    STATEMENToFTHEcLAIk *                                                                                                                                                                              .

    Describe in the space provided below the basic facts ofyour claim . The description offacts
    should include a specific explanation of how ,w here,and w hen each ofthe defendants nam ed
    in the caption violated the law ,and how you were harm ed. Do notgive any legalargumentsor
    cite casesorstptutes. Each paragraph m ust be num bered separately,beginning w ith num ber6.
    Please w rite each single setofcircum stances in a separately num bered paragraph.
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  REQUEST FOR RELIEF

  State whatyou Fantthe Courtto do foryou and thd am ountofmonetary com penibtion,ifany,
  you are seeking.
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DEMANDFORJURYTRI
               AL
                : VYES                                    Z No
signedthis 1* dayof                         .

                              Signature ofPlaintiffNo.1



                              Signature ofPlaintiffNo.2.: '
                             l*                               ',
                     .            .             s         .   .    .   s.        .,   ,   .
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NOTE: AIIPlaintiffs nam ed in the caption ofthe com plaintm ustdate pnd sign the com plaint.
Attach additionalsheetsofpapbràs hecessary.                        '               ' '



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